Case 1:04-cv-01577-RLY-WTL Document 120 Filed 02/22/06 Page 1 of 2 PageID #: 4000



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


  HAROLD VANDIVIER and LINDA                    )
  VANDIVIER,                                    )
           Plaintiffs,                          )
                                                )
         vs.                                    )        1:04-cv-1577-RLY-WTL
                                                )
  AMERICAN FAMILY MUTUAL                        )
  INSURANCE COMPANY,                            )
           Defendant.                           )


   ORDER ON PLAINTIFFS’ APPLICATION FOR DEFAULT JUDGMENT, and
   PLAINTIFFS’ MOTION TO STRIKE AFFIRMATIVE DEFENSES AND LIMIT
                              ISSUES

         Plaintiffs, Harold Vandivier and Linda Vandivier, request the court to enter default

  judgment pursuant to Federal Rule of Civil Procedure 55 against Defendant, American

  Family Mutual Insurance Company, on the issue of liability, for the reason that Defendant

  failed to file an Answer. The court notes that three days after Plaintiffs’ motion was filed,

  Defendant did indeed file an Answer. In addition, in Plaintiffs’ Reply, Plaintiffs state that

  they have no objection to Defendant filing an Answer; however, as a sanction for failing

  to timely file the Answer, Plaintiffs’ move to strike Defendant’s affirmative defenses in

  an effort to limit the issues for trial.

         The court, having read and reviewed the parties’ papers and the applicable law,

  now DENIES Plaintiffs’ Application for Default Judgment (Docket #62). The court

  further DENIES Plaintiffs’ Motion to Strike Affirmative Defenses and Limit Issues

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Case 1:04-cv-01577-RLY-WTL Document 120 Filed 02/22/06 Page 2 of 2 PageID #: 4001



  (Docket #71). Such sanctions are not warranted at this juncture.



  SO ORDERED this 22nd day of February 2006.




                                                   _______________________________
                                                  RICHARD L. YOUNG, JUDGE
                                                    RICHARD
                                                  United StatesL. YOUNG,
                                                                District     JUDGE
                                                                          Court
                                                    United States
                                                  Southern        District
                                                           District        Court
                                                                    of Indiana
                                                    Southern District of Indiana



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